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             1   JOSEPH J. WISEMAN, ESQ., CSBN 107403
                 JOSEPH J. WISEMAN, P.C.
             2       1477 Drew Avenue, Suite 106
                     Davis, California 95616
             3       Telephone:       530.759.0700
                     Facsimile:       530.759.0800
             4   Attorney for Defendant
                 DUANE ALLEN EDDINGS
             5

             6

             7                             IN THE UNITED STATES DISTRICT COURT
             8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
             9
                                                     SACRAMENTO DIVISION
            10

            11   UNITED STATES OF AMERICA,       ) Case No. CR S 09 0074 JAM
                                                 )
            12                      Plaintiff,   )
                                                 )
            13        vs.                        ) REQUEST FOR WAIVER OF PRESENCE
                                                 )
            14
                                                 )
                                                 )
            15
                 ROBERT C. BROWN and DUANE ALLEN )
                 EDDINGS,                        )
            16                                   )
                                    Defendants.  )
            17

            18

            19                  Defendant hereby waives the right to be present in person in open court upon the
            20   hearing of any motion or other proceeding in this cause, including, but not limited to when the
            21   case is ordered set for trial, when a continuance is ordered, and when any other action is taken by
            22   the court before or after hearing, except upon arraignment, plea, empanelment of jury and
            23   imposition of sentence. Defendant hereby requests the court to proceed during every absence of
            24   his which the court may permit pursuant to this waiver; agrees that his interests will be deemed
            25   represented at all times by the presence of his attorney, the same as if defendant were personally
            26   present; and further agrees to be present in court ready for hearing any day and hour the court
            27   may fix in his absence.
            28          Defendant further acknowledges that he has been informed of his rights under Title 18

                                                                    1
                 _________________________________________________________________________________________________
                 Request for Waiver of Presence                                             Case No. CR S 09 0074 JAM



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             1   U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays
             2   under the Act without defendant being present.
             3

             4
                 Dated:     May 7, 2009                         _________________________________
             5                                                  Defendant, DUANE ALLEN EDDINGS
                                                                           820 Sea Spray Lane # 112
             6                                                             Foster City, CA 94404
             7

             8
                 Approved: June 11, 2009                        By: __/s/ Joseph J. Wiseman__
             9                                                         JOSEPH J. WISEMAN
                                                                       Attorney for Defendant
            10                                                         DUANE ALLEN EDDINGS
            11

            12

            13
                 Dated:     June 11, 2009                       Respectfully submitted,
            14
                                                                JOSEPH J. WISEMAN, P.C.
            15

            16                                                  By: __/s/ Joseph J. Wiseman__
                                                                       JOSEPH J. WISEMAN
            17
                                                                       Attorney for Defendant
            18                                                         DUANE ALLEN EDDINGS

            19

            20

            21
                 Dated: June 12, 2009                          I approve the above Request for Waiver of Presence.
            22

            23
                                                                        /s/ John A. Mendez________
            24                                                          JOHN A. MENDEZ
                                                                        United States District Judge
            25

            26

            27

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                 _________________________________________________________________________________________________
                 Request for Waiver of Presence                                             Case No. CR S 09 0074 JAM



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